         Case No. 1:22-cv-00389-LTB Document 24-12 filed 04/18/22 USDC Colorado pg 1 of 8
                                                              Exhibit 12
Gmail - RE: --{EXTERNAL}-- property defined                               https://mail.google.com/mail/u/1/?ik=252cda9d94&view=pt&search=al...




                                                                                   Kirk Mcdonald <kirkmcdonald56@gmail.com>



         RE: --{EXTERNAL}-- property defined
         9 messages

         Laura Burtschi <lburtsch@co.jefferson.co.us>                                                  Thu, Mar 17, 2022 at 1:28 PM
         To: Kirk Mcdonald <kirkmcdonald56@gmail.com>


           Hi Kirk,



           Taxes are based on actual value X assessment rate X mill levy. The assessor’s office revalues the county every odd
           year using sales from the prior 2 years. For the 2021 reappraisal, the sales data gathering period was 7/1/2018-6
           /30/2020. The actual value of your property at 14309 Elk Mountain Trl Littleton was $102,774 for 2019/2020. The
           actual value for 2021/2022 is $128,831. The mill levy’s change every December based on taxing entities budgets. If
           you need more specific information, please visit our website. Assessment Process | Jefferson County, CO (jeffco.us)
           This is the direct link to this information.



           I have attached the definition of residential, farm or ranch qualifications and the classification and valuation of
           agricultural property for your information. The definition of “other agricultural” can be found in the Welby Gardens v.
           Adams County Board of Equalization, et al., 71 P.3d 992 (Colo. 2003). It states that for there to be an agricultural
           classification, there must be a nexus (connection) between the agricultural product that is produced and the land on
           which it resides. The court specifically ruled in Welby that greenhouses, which do not grow their products directly in
           the ground, do not meet this test.



           I hope all of this information helps. Please let me know if you have any other questions, I will do my best to get you an
           answer.




           Effective June 1, 2020, Jefferson County transitioned to a 4-day business week. As a result, the County
           Assessor’s Office is closed on Fridays.




           Laura Burtschi, Land Appraiser

           100 Jefferson County Parkway #2500

           Golden, CO 80419

           Ph: 303-271-8651

           Fax: 303-271-8616

           lburtsch@jeffco.us




1 of 8                                                                                                                      4/15/2022, 9:29 AM
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Gmail - RE: --{EXTERNAL}-- property defined                                 https://mail.google.com/mail/u/1/?ik=252cda9d94&view=pt&search=al...




           From: Kirk Mcdonald <kirkmcdonald56@gmail.com>
           Sent: Thursday, March 17, 2022 12:25 PM
           To: Laura Burtschi <lburtsch@co.jefferson.co.us>
           Subject: --{EXTERNAL}-- property defined




           CAUTION: This email originated from outside Jefferson County Government. Do not click links or open
           attachments unless you recognize the sender and know the content is safe.




           Hi sorry to bug but I need to know how the county defines the following:



           Ag Res. improved; Ag vacant land; Agi Business



           thanks,



           Reed McDonald


            3 attachments




                                                      ARL residential definition.JPG
                                                      91K




                Farm or Ranch Qualification.pdf
                116K
                Classification and Valuation of Agricultural Property 2020 (1)(1).pdf
                122K


         Kirk Mcdonald <kirkmcdonald56@gmail.com>                                                         Thu, Mar 17, 2022 at 1:49 PM
         To: Laura Burtschi <lburtsch@co.jefferson.co.us>

           Hi Laura, yes the clarification of growing in the soil is up for debate as you know, Jeffco and I are in court to see if this
           judgment is correct as I do grow in soil but in large barrels so I can have multiple harvests instead of a single harvest
           as Jeffco mandates. FYI the State of Colorado and its department of agricultural does not support your position, they
           support mine. In addition, Jeffco does not have a rebate to offset their limitations they are placing on modern farm



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           operations and does not have a water wise plan for farming in the twenty first century or modern farming.

           As you know two of my neighbors have been granted Ag tax states although they do not farm or ranch so how you
           grant AG assessment is hard to defend as it seems to be applied indiscriminately. I have provided as requested my
           401 for farm profit/loss I wonder if the other AG properties near me have as well. I will be subpoena your records to
           indicated if this is true.

           None the less, you did not answer my question. My property value went up a little no problem. My property tax
           assessment went up 26% in a single year. This seems to be incorrect. I asked why my property went went up 26% Do
           you have an answer as to why or how this increase occurred. It appears you do not have an answer?

           Mil level is the same as last year so how can my property tax increase 26% in a single year?

           I would appreciate an answer, please

           Kirk McDonald
           [Quoted text hidden]



         Laura Burtschi <lburtsch@co.jefferson.co.us>                                                    Thu, Mar 17, 2022 at 2:40 PM
         To: Kirk Mcdonald <kirkmcdonald56@gmail.com>
         Cc: Katherine Fontana <kfontana@co.jefferson.co.us>


           Hi Kirk,



           I am forwarding your email to Keiko Fontana. I think that she will be able to provide more information and provide
           clarification and more detail if you need it.



           Best regards,

           [Quoted text hidden]



         Katherine Fontana <kfontana@co.jefferson.co.us>                                                 Thu, Mar 17, 2022 at 2:44 PM
         To: "kirkmcdonald56@gmail.com" <kirkmcdonald56@gmail.com>
         Cc: Laura Burtschi <lburtsch@co.jefferson.co.us>


           Hello Kirk,



           Laura forwarded your email to me. I’ll look into it to explain in detail the 26-percent increase and will get back to you
           on this.




           Kind Regards,



           Katherine (Keiko) E. Fontana

           Commercial and Land Appraisal Manager



           Jefferson County



3 of 8                                                                                                                        4/15/2022, 9:29 AM
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Gmail - RE: --{EXTERNAL}-- property defined                                https://mail.google.com/mail/u/1/?ik=252cda9d94&view=pt&search=al...


           100 Jefferson County Parkway

           Golden, CO 80419

           o 303.271.8677

           c 720-939-7206

           kfontana@jeffco.us




           Find us on the web: www.jeffco.us

           Facebook | Twitter | Instagram



           Beginning June 1, 2020 Jefferson County offices have transitioned to a 4-day work week and will be open
           Monday - Thursday. Closed on Friday.

           [Quoted text hidden]



         Kirk Mcdonald <kirkmcdonald56@gmail.com>                                                        Thu, Mar 17, 2022 at 2:52 PM
         To: Laura Burtschi <lburtsch@co.jefferson.co.us>

           Laura, Thanks just looking for a simple answer on the tax increase.

           FYI the deciding factor in the cited case you sent me is the following:

           I have highlighted your cited case. I don't think you actually read the case, you just use this as part of your speech;
           you should read the case. Part of the court's assertion is the location of the greenhouses and the soil used for planting
           did not matter in that case. It's quite the opposite in my case. I use soil from my farm land and the location of the
           greenhouse on the given land is part of the productivity of the land because it faces directly south. Therefore, all
           aspects of the farm are a result of the productivity of my land.

           "There are three parcels of land at issue. Two parcels and a portion of the third are covered by numerous greenhouse
           buildings. The greenhouses provide a fully-enclosed, climate-controlled environment for the cultivation of various
           vegetables, flowers, and fruiting plant starts. None of the plants are grown in the soil of the land itself, but rather are
           grown in containers which sit on top of the ground. Typically, the soil in the containers is purchased from outside
           sources; it is not derived from the property. In fact, Petitioner concedes that the growth of the plants does not in
           any way depend on the location of the greenhouses on that particular piece of property. All the factors which
           typically affect the productivity of agricultural land, including temperature, humidity, and soil quality, are completely
           regulated and controlled in the greenhouse environment."\Welby Gardens v. Adams County Bd of Equalization."

           Thanks for referring as it remains unexplainable as to how my taxes could increase by 26% in a single year.

           Kirk McDonald
           [Quoted text hidden]



         Katherine Fontana <kfontana@co.jefferson.co.us>                                                 Thu, Mar 17, 2022 at 3:38 PM
         To: "kirkmcdonald56@gmail.com" <kirkmcdonald56@gmail.com>
         Cc: Laura Burtschi <lburtsch@co.jefferson.co.us>




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                                                              Exhibit 12
Gmail - RE: --{EXTERNAL}-- property defined                               https://mail.google.com/mail/u/1/?ik=252cda9d94&view=pt&search=al...




           Hello Kirk,



           Re: Sch #300087144 – 14309 Elk Mountain Trail



           In response to the question of why the property value increased between from 2020 to 2021, here is how the property
           was valued. As you probably know, residential properties increased in value significantly between June 30, 2018
           (2019/2020 value) and June 30, 2020 (2021 value). The increase in value and combined with the increase in mill levy
           resulted in the increase in your tax bill.



           In 2019, residential land similar to your property was valued at $28,000 per acre; in 2021, the value increased to
           $36,946 per acre.



           There are adjustments for certain characteristics, so this property in 2019 was valued at $20,554.80 per acre; in 2021,
           the value increased to $25,766.14 per acre. The increase in value over the 2-year period was 25-percent, or 12.5-
           percent per year, which is in line with increasing values in general for residential properties over this time frame.



           There was also an increase in Mill Levy, which fluctuates year-to-year and is determined by taxing districts, not the
           Assessor’s office. Although the Assessor’s office handles the valuation of properties, not the taxing of properties,
           which is handled by the Treasurer’s office, here is the calculation of the tax bill for years 2019, 2020, and 2021.



           2019 (payable 2020) Actual Value = $102,774 x 0.29 x 0.087543 = $2,609

           2020 (payable 2021) Actual Value = $102,774 x 0.29 x 0.088838 = $2,648

           2021 (payable 2022) Actual Value = $128,831 x 0.29 x 0.089073 = $3,328



           Please feel free to email me or call me directly at 303-271-8677, if you have more questions or would like further
           clarification.




           Kind Regards,



           Katherine (Keiko) E. Fontana

           Commercial and Land Appraisal Manager



           Jefferson County

           100 Jefferson County Parkway

           Golden, CO 80419

           o 303.271.8677




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Gmail - RE: --{EXTERNAL}-- property defined                                 https://mail.google.com/mail/u/1/?ik=252cda9d94&view=pt&search=al...


           c 720-939-7206

           kfontana@jeffco.us




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           Monday - Thursday. Closed on Friday.



           [Quoted text hidden]



         Kirk Mcdonald <kirkmcdonald56@gmail.com>                                                       Thu, Mar 17, 2022 at 3:55 PM
         To: Katherine Fontana <kfontana@co.jefferson.co.us>

           Kathrine,

           Thanks for your explanation; but!!!!!

           So as you state, 19 taxes were $2609; 20 taxes were$ 2648; the increase between the 19-20 tax year was about .02
           percent. This years tax of does not reflect that same percentage of increase but instead reflects a 26% increase from
           26 to 33 this is almost a 1/3 increase in taxes; My property did not increase 1/3 in value??????? If it did I would not
           argue.

           Kirk

           [Quoted text hidden]



         Katherine Fontana <kfontana@co.jefferson.co.us>                                                Thu, Mar 17, 2022 at 4:20 PM
         To: "kirkmcdonald56@gmail.com" <kirkmcdonald56@gmail.com>


           Hello Kirk,



           I just left you a voice mail as it may be easier to explain this over the phone.



           In Colorado, properties are re-appraised every two years, so the value of the property remains the same for 2019 and
           2020, in most cases. So the difference in tax dollars between 2019 and 2020 reflects on a difference in mill levy only.
           However, properties were re-appraised, showing the increase in value over the 2-year period, which was reflected in
           the value in 2021.




           This schedule may be helpful:



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           Date of valuation: June 30, 2018

           Year 2019, payable 2020 – based on value as of June 30, 2018

           Year 2020, payable 2021 – based on value as of June 30, 2018 (so value stays the same, only the mill levy increased)



           Date of valuation for re-appraisal: June 30, 2020

           Year 2021, payable 2022 – based on value as of June 30, 2020 (so this increase is over a two-year period: 2018 vs
           2020)




           Kind Regards,



           Katherine (Keiko) E. Fontana

           Commercial and Land Appraisal Manager



           Jefferson County

           100 Jefferson County Parkway

           Golden, CO 80419

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           c 720-939-7206

           kfontana@jeffco.us




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           Monday - Thursday. Closed on Friday.



           [Quoted text hidden]



         Kirk Mcdonald <kirkmcdonald56@gmail.com>                                                Mon, Mar 21, 2022 at 12:48 PM



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         To: Katherine Fontana <kfontana@co.jefferson.co.us>

           HI Keiko,

           Kirk McDonald here from the Vine Ranch Farm. Well I received an email from Laura she cites the follow court decision
           for reason of my denial:

                   Welby Gardens v. Adams County Bd. of Equalization, 71 P.3d 992 (2003). In the Welby Gardens
           decision, Welby concede that their grow operation does not in any way depend on the location of the
           greenhouses or on that particular piece of property. All the factors which typically affect the productivity
           of agricultural land, including temperature, humidity, and soil quality. Welby also admitted they do not
           rely on the soil from the land itself for their grow operation. This old decision also does not take in to
           account the water saving strategy which is currently favored for grow operations by the Colorado
           Department of Agricultural; Colorado is among the western states that are in a current one hundred (100)
           year water drought.
                   In contrast. The Vine Ranch Farm uses surrounding soil for its grow operation. Second, in contrast
           the location of the property utilizes the productivity of the land because of the southern exposure and
           elevation of the property. Third, in contrast, the greenhouses on the property are underground greenhouses
           referred to as Walipini. Walipini’s are underground greenhouses, they are underground because six feet
           underground the ground is a constant 50 degrees utilizing the productivity of the land to effectively
           enhance plant growth. Fourth, in contrast, not only are plants grown in the greenhouses but they also are
           planted in the soil of the subject farm land. Fifth, Jeffco as a part of their fraud scheme allows only a
           single harvest from the land financially harming the subject farm. Multiple harvests are achieved by
           transferring plants on the Vine Ranch Farm from uncontrolled greenhouses to controlled underground
           greenhouses to outside planting. Although, this process has been explained and tours have been
           conducted of the subject farm for Jeffco they refuse to grant agricultural tax states the Vine Ranch Farm.
           In addition, another local fungi farm just a few miles from me is granted agricultural status. As you well know,
           mushrooms are grown on raised beds in the dark in greenhouses?
           I have an additional dozen farm/ranch that do not either farm or ranch but are granted agricultural tax status just miles
           from my real farm location.

           It seems the tax status of my farm is arbitrary and capricious and not equal protections under tax law.

           Kirk
           [Quoted text hidden]




8 of 8                                                                                                                       4/15/2022, 9:29 AM
